                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
                                                        No. 17-CR-2043-LRR
 vs.
                                              REPORT AND RECOMMENDATION
 NAIQONDIS MAURICE SPATES,

         Defendant.
                                ____________________


       On December 8, 2017, the above-named defendant Naiqondis Maurice Spates, by
consent (Doc. 52), appeared before the undersigned United States Magistrate Judge
pursuant to Federal Rule of Criminal Procedure 11, and entered a plea of guilty to Counts
One and Eleven of the Indictment (Doc. 4). After cautioning and examining defendant
under oath concerning each of the subjects mentioned in Rule 11, the Court determined
that the guilty pleas were knowledgeable and voluntary, and the offenses charged were
supported by an independent basis in fact containing each of the essential elements of the
offenses. The Court therefore RECOMMENDS that the pleas of guilty be accepted and
defendant be adjudged guilty.
       At the commencement of the Rule 11 proceeding, defendant was placed under oath
and advised that if defendant answered any questions falsely, defendant could be
prosecuted for perjury or for making a false statement. Defendant also was advised that
in any such prosecution, the Government could use against defendant any statements
made under oath.




    Case 6:17-cr-02043-CJW-MAR         Document 55      Filed 12/11/17    Page 1 of 7
      The Court asked a number of questions to ensure defendant’s mental capacity to
enter a plea. Defendant stated defendant’s full name, age, and extent of schooling. The
Court inquired into defendant’s history of mental illness and addiction to narcotic drugs.
The Court further inquired into whether defendant was under the influence of any drug,
medication, or alcoholic beverage at the time of the plea hearing. From this inquiry, the
Court determined that defendant was not suffering from any mental disability that would
impair defendant’s ability to make knowing, intelligent, and voluntary pleas of guilty to
the charges.
      Defendant acknowledged that defendant had received a copy of the Indictment,
and had fully discussed these charges with defendant’s counsel.
      The Court determined that defendant was pleading guilty under a plea agreement
with the Government. After confirming that a copy of the written plea agreement was in
front of defendant and defendant’s counsel, the Court determined that defendant
understood the terms of the plea agreement. The Court summarized the plea agreement,
and made certain defendant understood its terms.
      The Court explained to defendant that because the plea agreement provided for
dismissal of charges, if defendant pleaded guilty, a presentence report would be prepared
and a district judge would consider whether or not to accept the plea agreement. If the
district judge decided to reject the plea agreement, then defendant would have an
opportunity to withdraw the pleas of guilty and change them to not guilty.
      Defendant was advised also that after the pleas were accepted, defendant would
have no right to withdraw the pleas at a later date, even if the sentence imposed was
different from what defendant or defendant’s counsel anticipated.
      The Court summarized the charges against defendant, and listed the elements of
the crime. The Court determined that defendant understood each and every element of




                                            2

    Case 6:17-cr-02043-CJW-MAR         Document 55      Filed 12/11/17    Page 2 of 7
the crime, and defendant’s counsel confirmed that defendant understood each and every
element of the crime charged.
      The Court elicited a full and complete factual basis for all elements of the crimes
charged in each Count of the Indictment to which defendant was pleading guilty.
      The Court advised defendant of the consequences of each plea, including the
maximum fine, the maximum term of imprisonment, the mandatory minimum term of
imprisonment, and term of supervised release.
      With respect to Count One (1), defendant was advised that the maximum fine is
$8,000,000; the maximum term of imprisonment is life; the mandatory minimum term
of imprisonment is ten (10) years; the maximum period of supervised release is life; and
the minimum period of supervised release is eight (8) years.
      With respect to Count Eleven (11), defendant was advised that the maximum fine
is $4,000,000; the maximum term of imprisonment is sixty (60) years; the mandatory
minimum term of imprisonment is one (1) year; the maximum period of supervised
release is life; and the minimum period of supervised release is six (6) years.
      Defendant was advised that combined, the maximum fine is $12,000,000; the
maximum term of imprisonment is life; the mandatory minimum term of imprisonment
is eleven (11) years; the maximum period of supervised release is life; and the mandatory
minimum period of supervised release is fourteen (14) years.
      Defendant also was advised that the Court is obligated to impose a special
assessment of $100.00 for each count to which defendant pled guilty, for a total of $200,
which defendant must pay. Defendant also was advised of the collateral consequences of
a plea of guilty. Defendant acknowledged that defendant understood all of the above
consequences.
      The Court explained supervised release to defendant, and advised that a term of
supervised release could be imposed in addition to the sentence of imprisonment.



                                            3

    Case 6:17-cr-02043-CJW-MAR         Document 55      Filed 12/11/17    Page 3 of 7
Defendant was advised that there are conditions of supervised release, and that if
defendant were found to have violated a condition of supervised release, then the term of
supervised release could be revoked and defendant could be required to serve in prison
all or part of the term of supervised release without credit for time previously served on
supervised release. Defendant was advised that parole has been abolished.
       The Court also explained to defendant that the district judge would determine the
appropriate sentence at the sentencing hearing. Defendant confirmed that defendant
understood the Court would not determine the appropriate sentence until after the
preparation of a presentence report, which the parties would have the opportunity to
challenge. Defendant acknowledged that defendant understood the sentence imposed
might be different from what defendant’s attorney had estimated. Defendant also was
advised that both defendant and the Government would have the right to appeal the
sentence.
       Defendant indicated that defendant had conferred fully with defendant’s counsel
and was fully satisfied with defendant’s counsel. Defendant’s attorney indicated that
there was a factual basis for the guilty plea.
       Defendant was advised fully of the right to plead not guilty, or having already
entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;

       2.     The right to a speedy, public trial;

       3.     The right to have defendant’s case tried by a jury selected from a cross-
              section of the community;

       4.     That defendant would be presumed innocent at each stage of the
              proceedings, and would be found not guilty unless the Government could
              prove each and every element of the offense beyond a reasonable doubt;




                                             4

    Case 6:17-cr-02043-CJW-MAR          Document 55       Filed 12/11/17    Page 4 of 7
          5.    That the Government could call witnesses into court, but defendant’s
                attorney would have the right to confront and cross-examine these
                witnesses;

          6.    That defendant would have the right to see and hear all witnesses presented
                at trial;

          7.    That defendant would have the right to subpoena defense witnesses to testify
                at the trial, and if defendant could not afford to pay the fees and costs of
                bringing these witnesses to court, then the Government would be required
                to pay those fees and costs;

          8.    That defendant would have the privilege against self-incrimination; i.e.,
                defendant could choose to testify at trial, but need not do so, and if
                defendant chose not to testify, then the Court would instruct the jury that
                defendant had a constitutional right not to testify;

          9.    That any verdict by the jury would have to be unanimous;

          10.   That defendant would have the right to appeal, and if defendant could not
                afford an attorney for the appeal, then the Government would pay the costs
                of an attorney to prepare the appeal.

          Defendant also was advised of the rights defendant would waive by entering a plea
of guilty. Defendant was told there would be no trial, defendant would waive all the trial
rights just described, and defendant would be adjudged guilty without any further
proceedings except for sentencing.
          Defendant confirmed that the decision to plead guilty was voluntary and was not
the result of any promises other than plea agreement promises; and the decision to plead
guilty was not the result of any threats, force, or anyone pressuring defendant to plead
guilty.
          Defendant confirmed that defendant still wished to plead guilty, and defendant
pleaded guilty to Counts One and Eleven of the Indictment.
          The Court finds the following with respect to defendant’s guilty pleas:



                                               5

    Case 6:17-cr-02043-CJW-MAR            Document 55     Filed 12/11/17    Page 5 of 7
      1.     The guilty pleas are voluntary, knowing, not the result of force, threats or
             promises, except plea agreement promises, and defendant is fully
             competent.

      2.     Defendant is aware of the maximum punishment.

      3.     Defendant knows defendant’s jury rights.

      4.     Defendant has voluntarily waived said jury rights.

      5.     There is a factual basis for each plea.

      6.     Defendant is, in fact, guilty of the crimes to which defendant is pleading
             guilty.


      Defendant was advised that a written presentence investigation report would be
prepared to assist the Court in sentencing. Defendant was told that defendant and
defendant’s counsel would have an opportunity to read the presentence report before the
sentencing hearing and to object to the contents of the report, and defendant and
defendant’s counsel would be afforded the opportunity to present evidence and be heard
at the sentencing hearing.
      Defendant was advised that the failure to file written objections to this Report and
Recommendation within 14 days of the date of its service would bar defendant from
attacking this Court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept defendant’s pleas of guilty. Defendant may waive
any right to file written objections to this Report and Recommendation by filing a written
waiver form. The “Waiver of Objections to Report and Recommendation” form is
available on the Court’s web page.
      United States v. Cortez-Hernandez, 673 Fed. App’x 587 (8th Cir. 2016) (per
curiam), suggests that a defendant may have the right to de novo review of a magistrate
judge’s recommendation to accept a plea of guilty even if no objection is filed. But see



                                            6

    Case 6:17-cr-02043-CJW-MAR         Document 55      Filed 12/11/17    Page 6 of 7
28 U.S.C. § 636(b)(1); FED. R. CRIM. P. 59(b). The district court judge will undertake
a de novo review of the Report and Recommendation if a written request for such review
is filed within fourteen (14) days after this report and recommendation is filed.
        DONE AND ENTERED at Cedar Rapids, Iowa, this 11th day of December,
2017.



                                         __________________________________
                                         C.J. Williams
                                         Chief United States Magistrate Judge
                                         Northern District of Iowa




                                            7

    Case 6:17-cr-02043-CJW-MAR         Document 55      Filed 12/11/17    Page 7 of 7
